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 9
                              UNITED STATES DISTRICT COURT
10                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                    WESTERN DIVISION
11

12     BROIDY CAPITAL MANAGEMENT LLC                             Civil Case No.:
       and ELLIOTT BROIDY
13                                                               2:18-CV-02421-JFW-(Ex)
14           Plaintiffs,

15                                                               DEFENDANT STATE OF QATAR’S
             v.
                                                                 REQUEST FOR JUDICIAL NOTICE
16                                                               IN SUPPORT OF MOTION TO
       STATE OF QATAR, STONINGTON
17                                                               DISMISS PURSUANT TO RULES
       STRATEGIES LLC, NICOLAS D.
                                                                 12(b)(1) AND 12(b)(2) OF THE
18     MUZIN, GLOBAL RISK ADVISORS
                                                                 FEDERAL RULES OF CIVIL
       LLC, KEVIN CHALKER, DAVID MARK
19                                                               PROCEDURE
       POWELL, MOHAMMED BIN HAMAD
20     BIN KHALIFA AL THANI, AHMED AL-
                                                                 [Filed Concurrently with Notice of
       RUMAIHI, and DOES 1-10,
21                                                               Motion and Motion to Dismiss;
                                                                 Memorandum of Points and Authorities;
22           Defendants.
                                                                 Proposed Order]
23
                                                                 Hearing Date: July 30, 2018
24                                                               Time: 1:30 p.m.
25
                                                                 Courtroom: 7A
                                                                 Judge: Hon. John F. Walter
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                  STATE OF QATAR’S REQUEST FOR JUDICIAL NOTICE          CASE NO.: 2-18-CV-02421-JFW-(Ex)
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 1                                REQUEST FOR JUDICIAL NOTICE
 2          Pursuant to Federal Rule of Evidence 201, Defendant State of Qatar (“Qatar”)
 3    hereby requests that this Court take judicial notice of the information below, in support of
 4    Qatar’s concurrently filed Notice of Motion and Motion to Dismiss Plaintiffs’ First
 5    Amended Complaint.
 6          Where, as here, a litigant mounts a facial attack against a complaint on the basis
 7    that subject-matter jurisdiction is lacking, the Court may, in deciding a motion to dismiss,
 8    consider “any undisputed facts . . . of which the court can take judicial notice.” Davis v.
 9    County of Maui, No. 10–00070 KSC, 2010 WL 11531281, at *3 (D. Haw. May 4, 2010),
10    aff’d, 454 F. App’x 582 (9th Cir. 2011); see also Lauwrier v. Garcia, No. CV 12-12--
11    007381 MMM (SHx), 2013 WL 11238497, at *2 (C.D. Cal. Mar. 8, 2013) (“Even when
12    deciding a facial attack, however, a court can look beyond the complaint to consider
13    documents that are proper subjects of judicial notice.”); Carpenter v. OneWest Bank,
14    FSB, No. 12-CV-00895 MMM (OPx), 2012 WL 13012420, at *2 (C.D. Cal. Apr. 25,
15    2012) (same); PNC Equip. Fin., LLC v. Cal. Fairs Fin. Auth., No. 11-CV-06248 MMM
16    (DTBx), 2012 WL 12506870, at *3 (C.D. Cal. Feb. 9, 2012) (same); see also Tarantino
17    v. Gawker Media, LLC, No. 14-CV-603-JFW (FFMx), 2014 WL 2434647, at *1 n. 1
18    (C.D. Cal. Apr. 22, 2014) (Walter, J.) (taking judicial notice of publicly available
19    documents in deciding motion to dismiss).
20          Consistent with these firmly-established standards, the Court may judicially notice
21    and consider the following government documents and statements in deciding Qatar’s
22    Motion to Dismiss:
23          1.      Attached as Exhibit A is a true and correct copy of excerpts from a report by
24    the Congressional Research Service, Kenneth Katzman, Cong. Research Serv., R44533,
25    Qatar: Governance, Security, and U.S. Policy (June 7, 2018) (Summary and p.15).
26          2.      Attached as Exhibit B is a true and correct copy of excerpts from a senate
27    report prepared for the Senate Committee on Foreign Relations, S. Prt.
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                 STATE OF QATAR’S REQUEST FOR JUDICIAL NOTICE    CASE NO.: 2-18-CV-02421-JFW-(Ex)
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 1    112–35, The Gulf Security Architecture: Partnership with the Gulf Cooperation Council
 2    (2012) (p.15), which is published on the Senate Committee’s website at
 3    https://www.foreign.senate.gov/imo/media/doc/746031.pdf.
 4          3.      Attached as Exhibit C is a true and correct copy of a statement issued by the
 5    United States Department of State, the Joint Statement of the Inaugural United States–
 6    Qatar Strategic Dialogue, U.S. Dep’t of State (Jan. 30, 2018), which is published on the
 7    Department of State’s website at https://www.state.gov/r/pa/prs/ps/2018/01/277776.htm.
 8          4.      Attached as Exhibit D is a true and correct copy of trade data published by
 9    the Office of the United States Trade Representative, U.S.-Qatar Trade Facts, which is
10    published on the Office of the United States Trade Representative’s website at
11    https://ustr.gov/countries-regions/europe-middle-east/middle-east/north-africa/qatar.
12          5.      Attached as Exhibit E is a true and correct copy of a statement issued by the
13    White House, Readout of President Donald J. Trump’s Call with Emir Tamim bin Hamad
14    Al Thani of Qatar (Jan. 15, 2018), which is published on the official White House
15    website at https://www.whitehouse.gov/briefings-statements/readout-president-donald-j-
16    trumps-call-emir-tamim-bin-hamad-al-thani-qatar/.
17                                                ARGUMENT
18          “It is appropriate to take judicial notice of . . . information [that] was made publicly
19    available by government entities . . . , [where] neither party disputes the authenticity of
20    the web sites [or documents,] or the accuracy of the information displayed therein.”
21    Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998–99 (9th Cir. 2010); see also
22    Ramirez v. Wells Fargo Bank N.A., No. CV 15-08909-BRO (JPRx), 2016 WL 7448136,
23    at *2 (C.D. Cal. Feb. 1, 2016) (“[A] court may properly take judicial notice of . . . matters
24    in the public record.”); Fed. R. Evid. 201 (allowing a court to take judicial notice of a fact
25    “not subject to reasonable dispute in that it is . . . capable of accurate and ready
26    determination by resort to sources whose accuracy cannot reasonably be questioned”).
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                 STATE OF QATAR’S REQUEST FOR JUDICIAL NOTICE     CASE NO.: 2-18-CV-02421-JFW-(Ex)
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 1          Exhibits A, B, C, D, and E are all part of the public record. Their authenticity
 2    cannot reasonably be disputed, and they have been made available by reliable sources—
 3    namely, federal government entities. See, e.g., In re Amgen Inc. Sec. Litig., 544 F. Supp.
 4    2d 1009, 1023–24 (C.D. Cal. 2008) (on consideration of a motion to dismiss, taking
 5    judicial notice of drug labels taken from the FDA’s website); County of Santa Clara v.
 6    Astra USA, Inc., 401 F. Supp. 2d 1022, 1024 (N.D. Cal. 2005) (on consideration of a
 7    motion for remand or dismissal, taking judicial notice of information posted on a
 8    Department of Health and Human Services website). Accordingly, the information at
 9    issue is properly subject to judicial notice.
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11     Dated: June 27, 2018                               Respectfully submitted,
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                                                          COVINGTON & BURLING LLP
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                                                          By: /s/ Mitchell A. Kamin
15                                                             MITCHELL A. KAMIN
16                                                             Attorneys for Defendant State of Qatar

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                 STATE OF QATAR’S REQUEST FOR JUDICIAL NOTICE          CASE NO.: 2-18-CV-02421-JFW-(Ex)
